Case 1:19-cv-22572-UU Document 1 Entered on FLSD Docket 06/21/2019 Page 1 of 22



                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                     MIAMI DIVISION

                                             CASE NO.:


 RUBEN PORTA,
 and other similarly-situated individuals,

         Plaintiff(s),
 v.

 GODIVA AMERICAN, CORP.,
 d/b/a SANTA FE NEWS AND ESPRESSO,
 THE GRAND CAFE S 1 CORP,
 SUNNY ISLES BEACH RESTAURANT CORP.
 and ALEJANDRO SCOLNIK, individually,

       Defendants,
 ________________________________________/

                                       COMPLAINT
                           (OPT-IN PURSUANT TO 29 U.S.C § 216(b))

         COMES NOW the Plaintiff RUBEN PORTA, and other similarly-situated individuals, by

 and through the undersigned counsel, and hereby sues Defendants GODIVA AMERICAN,

 CORP., d/b/a SANTA FE NEWS AND ESPRESSO, THE GRAND CAFE S 1 CORP, SUNNY

 ISLES BEACH RESTAURANT CORP, and ALEJANDRO SCOLNIK, individually and alleges:

                            JURISDICTION VENUES AND PARTIES

      1. This is an action to recover money damages for unpaid minimum and overtime wages

         under the laws of the United States. This Court has jurisdiction pursuant to the Fair Labor

         Standards Act, 29 U.S.C. § 201-219 (Section 216 for jurisdictional placement) (“the Act”).

      2. Plaintiff RUBEN PORTA is a resident of Miami-Dade County, Florida, within the

         jurisdiction of this Honorable Court. Plaintiff is a covered employee for purposes of the

         Act.

                                             Page 1 of 22
Case 1:19-cv-22572-UU Document 1 Entered on FLSD Docket 06/21/2019 Page 2 of 22



    3. Defendants GODIVA AMERICAN, CORP. d/b/a SANTA FE NEWS AND ESPRESSO,

       THE GRAND CAFE S 1 CORP, and SUNNY ISLES BEACH RESTAURANT CORP,

       are Florida corporations, having their main place of business in Miami-Dade County,

       Florida, where Plaintiff worked for Defendants. Defendants were engaged in interstate

       commerce.

    4. The individual Defendant ALEJANDRO SCOLNIK, was and is now, the owner/director

       Defendant Corporation GODIVA AMERICAN, CORP. d/b/a SANTA FE NEWS AND

       ESPRESSO, he is also owner/partner /officer of THE GRAND CAFE S 1 CORP., and

       SUNNY ISLES BEACH RESTAURANT CORP.

    5. Pursuant to 29 U.S.C. § 203 (r)(1) and pursuant to 29 C.F.R. §791.2., Defendants GODIVA

       AMERICAN, CORP., d/b/a SANTA FE NEWS AND ESPRESSO, THE GRAND CAFE

       S 1 CORP, and SUNNY ISLES BEACH RESTAURANT CORP, are a joint enterprise,

       and joint employers of Plaintiff.

    6. All the actions raised in this complaint took place in Dade County Florida, within the

       jurisdiction of this Court.

                                     GENERAL ALLEGATIONS

    7. Defendants GODIVA AMERICAN, CORP., d/b/a SANTA FE NEWS AND ESPRESSO,

       THE GRAND CAFE S 1 CORP, and SUNNY ISLES BEACH RESTAURANT CORP,

       are retail business operating as restaurants.

    8. Defendants GODIVA AMERICAN, CORP., d/b/a SANTA FE NEWS AND ESPRESSO,

       THE GRAND CAFE S 1 CORP, and SUNNY ISLES BEACH RESTAURANT CORP

       operate Santa Fe News And Espresso, a coffee shops and restaurant located at 9700 Collins




                                           Page 2 of 22
Case 1:19-cv-22572-UU Document 1 Entered on FLSD Docket 06/21/2019 Page 3 of 22



       Avenue, Suite # 243 Bal Harbour, 33154, and they also operate The Grand Cafe S 1 Corp

       located at 17190 Collins Avenue, Sunny Isles Beach, FL 33160.

    9. Pursuant to 29 U.S.C. § 203 (r)(1), Defendants GODIVA AMERICAN, CORP., d/b/a

       SANTA FE NEWS AND ESPRESSO, THE GRAND CAFE S 1 CORP, and SUNNY

       ISLES BEACH RESTAURANT CORP, are a joint enterprise because: 1) the three

       companies have the same or related business activities; 2) the three companies operated

       out of the same location; 3) the three companies shared centralized management,

       equipment and supplies; 4) Defendant operated as a single unit for a common business

       purpose; 5) between Defendants existed unified operation and common control, and they

       operated as a single unit; 6) Defendants shared a common business purpose, the profitable

       operation of both restaurants; 7) Defendants had interdependent financial interest; 8) and

       existed common ownership and management.

    10. Pursuant 29 C.F.R. §791.2. Defendants GODIVA AMERICAN, CORP., d/b/a SANTA FE

       NEWS AND ESPRESSO, THE GRAND CAFE S 1 CORP, and SUNNY ISLES BEACH

       RESTAURANT CORP were joint employers because: 1) Defendants through their

       owners/manager ALEJANDRO SCOLNIK, had equal and absolute control over the

       Plaintiff and other employees similarly situated; 2) Defendants through their management

       jointly and equally determined terms and employment conditions of Plaintiff and other

       employees similarly situated; 3) Defendants operated the two facilities where Plaintiff and

       the other similarly situated employees worked; 4) the work performed by Plaintiff and other

       similarly situated individuals was an integral part of the business operation of GODIVA

       AMERICAN, CORP., d/b/a SANTA FE NEWS AND ESPRESSO, THE GRAND CAFE

       S 1 CORP, and SUNNY ISLES BEACH RESTAURANT CORP; Plaintiff was paid with



                                          Page 3 of 22
Case 1:19-cv-22572-UU Document 1 Entered on FLSD Docket 06/21/2019 Page 4 of 22



       company checks from the 3 corporations 6) The 3 corporations had the power to hire and

       to fire employees from Santa Fe News and Espresso and The Grand Cafe.

    11. Therefore, because the work performed by Plaintiff and other similarly-situated

       individuals, simultaneously benefited all Defendants and directly or indirectly furthered

       their joint interest, Defendants GODIVA AMERICAN, CORP., d/b/a SANTA FE NEWS

       AND ESPRESSO, THE GRAND CAFE S 1 CORP, and SUNNY ISLES BEACH

       RESTAURANT CORP are a joint enterprise as defined in 29 U.S.C. § 203 (r)(1), and they

       are also joint employers as defined in 29 C.F.R. §791.2.

    12. Defendants GODIVA AMERICAN, CORP., d/b/a SANTA FE NEWS AND ESPRESSO,

       THE GRAND CAFE S 1 CORP, and SUNNY ISLES BEACH RESTAURANT CORP are

       the joint employers of Plaintiff and other similarly situated employees under the FLSA’s

       broad definition of “employer”, (29 U.S.C. §203 (d)), and they are jointly liable for

       Plaintiff’s damages.

    13. Defendants GODIVA AMERICAN, CORP., d/b/a SANTA FE NEWS AND ESPRESSO,

       THE GRAND CAFE S 1 CORP, and SUNNY ISLES BEACH RESTAURANT CORP

       hereinafter will be called collectively GODIVA AMERICAN.

    14. Defendants GODIVA AMERICAN and individual Defendant ALEJANDRO SCOLNIK

       employed Plaintiff RUBEN PORTA from approximately August 15, 2016 to October 20,

       2017, 2017, or 62 weeks. However, for FLSA’s purposes Plaintiff’s relevant time of

       employment is 54 weeks, since Plaintiff did not work overtime hours during his first 8

       weeks of employment.

    15. While employed by Defendants Plaintiff RUBEN PORTA worked approximately 40

       weeks at Santa Fe News and Espresso and then he worked approximately 14 weeks for The



                                          Page 4 of 22
Case 1:19-cv-22572-UU Document 1 Entered on FLSD Docket 06/21/2019 Page 5 of 22



       Grand Cafe and for Santa Fe News and Espresso, simultaneously and within the same

       week.

    16. During his employment with Defendant Plaintiff held different positions and different

       payment plans. Plaintiff worked for Defendant GODIVA AMERICAN as follows:

    17. (1) Plaintiff’s work at Santa Fe News and Espresso (40 weeks) - On or about August 15,

       2016, Plaintiff began his employment with GODIVA AMERICAN working as a server at

       Santa Fe News and Espresso. Plaintiff worked in this position for approximately 8 weeks,

       he was paid $12.00 an hour and he did not work overtime hours.

    18. From approximately October 10, 2016 to July 15, 2017 or 40 weeks, Plaintiff worked as a

       lead waiter. Plaintiff performed multiple tasks such as working on floor plans, setting

       tables, taking care of proper level of sanitation, receiving and stocking restaurant supplies;

       Plaintiff worked in any position covering absent servers, food runners, drink runners,

       Plaintiff also has some clerk duties such as producing schedules, reporting the hours

       worked and sales of other, and if needed taking restaurant supplies to The Grand Cafe.

       Plaintiff worked under the supervision of managers and the owner of the business

       ALEJANDRO SCOLNIK.

    19. In this period, Plaintiff worked regularly 5 days per week from 10:00 AM, to 10:00 PM

       (12 hours daily) an average of 60 hours weekly. Plaintiff was unable to take bona-fide

       lunch breaks.

    20. On the months of December, January and February (high season), or 12 weeks, Plaintiff

       worked a minimum of 6 days per week, from 9:00 AM to 12:00 AM (15 hours daily) a

       minimum average of 90 hours.




                                           Page 5 of 22
Case 1:19-cv-22572-UU Document 1 Entered on FLSD Docket 06/21/2019 Page 6 of 22



    21. Plaintiff clocked in and out, but he claims that Defendant did not maintain accurate time

       records.

    22. In this period Plaintiff worked more than 40 hours weekly, but he was not paid for overtime

       hours. as required by the Fair Labor Standards Act.

    23. Plaintiff was paid $15.00 an hour or $900.00 per week regardless the number of days and

       hours worked. Plaintiff was paid 40 hours, or $600 with check and the remaining 20 hours

       or $300.00 in cash.

    24. (2) Plaintiff’s work at The Grand Café and Santa Fe News and Espresso (14 weeks). On or

       about July 16, 2017 Plaintiff was sent to work as a lead waiter to The Grand Cafe, Plaintiff

       had similar duties as he had in Santa Fe News and Espresso.

    25. Plaintiff worked 5 days from Thursdays to Sundays from 9:00 AM to 10:00 PM (13 hours

       daily) or a total of 65 hours weekly.

    26. Plaintiff was paid as a tipped employee $5.80 an hour plus tips.

    27. In this period Plaintiff worked also a waiter at Santa Fe News and Espresso. Plaintiff

       worked on Mondays and Tuesdays an average of 12 hours daily or 24 hours every week.

       Plaintiff was compensated for his work at Santa Fe News and Espresso at the rate of $15.00

       an hour.

    28. Plaintiff was compensated at two different rates. Plaintiff worked Mondays and Tuesdays,

       24 hours at Santa Fe News and Espresso and he was paid at the rate of $15.00 and hour;

       and he worked at The Grand Café 5 days 65 hours at the tipped rate of $5.80.

    29. In this period of 14 weeks Plaintiff worked a total of 89 hours every week or 49 O/T hours.

       Plaintiff worked 25 O/T hours at The Grand Café, and 24 additional O/T hours at Santa Fe

       News and Espresso. Plaintiff was not compensated for a total of 49 O/T hours.



                                           Page 6 of 22
Case 1:19-cv-22572-UU Document 1 Entered on FLSD Docket 06/21/2019 Page 7 of 22




    30. While working as a waiter at The Grand Cafe, Plaintiff was a tipped employee who was

       paid the mandatory minimum wage for tipped employees, plus tips that he retained as his

       own property. However, Defendant was not entitled to a tip credit because it did not

       establish a valid tip pooling agreement. Plaintiff wrongfully was required to “pay” cash

       daily a 7% from his daily sales (from the total of costumers’ bills), not from his tips.

       Plaintiff paid this 7% with the proceedings of his tips. In addition, the 7% was distributed

       between non-qualified employees such as Kitchen employees (2% Kitchen, 2% food

       runners, 2% drunk runners, 1% dishwashers).

    31. Consequently, Defendants are not entitled to the “tip credit” allowed by law. Defendants

       are obligated to pay Plaintiff the full minimum wage of $7.25 an hour for all the time

       Plaintiff worked at The Grand Café as a waiter. (In Florida $8.10 for 2017.)

    32. In this period of 14 weeks Plaintiff is owed, minimum wages for his work at The Grand

       Café,

    33. In addition, in this period of 14 weeks Plaintiff worked a total of 89 hours every week or

       49 O/T hours. Plaintiff worked 25 O/T hours at The Grand Café, and 24 additional O/T

       hours at Santa Fe News and Espresso. Plaintiff was not compensated for a total of 49 O/T

       hours.

    34. Therefore, during his time of employment with GODIVA AMERICAN Plaintiff was

       required to work many hours over 40 in a workweek without receiving minimum wages

       and extra payment for overtime hours at the rate of time and a half his regular rate, as

       required by the Fair Labor Standards Act.




                                          Page 7 of 22
Case 1:19-cv-22572-UU Document 1 Entered on FLSD Docket 06/21/2019 Page 8 of 22



    35. Plaintiff did not clock in an out, but Defendants maintained manual records. Plaintiff was

       paid with cash and with company checks from the 3 different corporations. Defendant did

       not provide Plaintiff with paystubs providing information about days and hours worked,

       wage rate paid, employee taxes deductions etc. etc.

    36. On or about October 20, 2017 Plaintiff was unfairly fired due to a conflict between business

       partners.

    37. Plaintiff RUBEN PORTA seeks to recover full minimum wages, half-time overtime hours,

       accumulated during all his time of employment with Defendant GODIVA AMERICAN,

       plus liquidated damages and any other relief as allowable by law.

    38. The additional persons who may become Plaintiffs in this action are employees and/or

       former employees of Defendants who are and who were subject to the unlawful payroll

       practices and procedures of Defendants, that resulted in minimum wages violations and

       non-payment for hours worked in excess of 40 in a week period.

                                COUNT I:
              WAGE AND HOUR FEDERAL STATUTORY VIOLATION;
            FAILURE TO PAY OVERTIME; AGAINST ALL DEFENDANTS;

    39. Plaintiff re-adopts every factual allegation concerning to him, as stated in paragraphs 1-38

       above as if set out in full herein.

    40. This action is brought by Plaintiff RUBEN PORTA and those similarly-situated to recover

       from the Employer unpaid overtime compensation, as well as an additional amount as

       liquidated damages, costs, and reasonable attorney’s fees under the provisions of 29 U.S.C.

       § 201 et seq., and specifically under the provisions of 29 U.S.C. § 207. 29 U.S.C. § 207

       (a)(1) states, “No employer shall employ any of his employees… for a work week longer

       than 40 hours unless such employee receives compensation for his employment in excess



                                             Page 8 of 22
Case 1:19-cv-22572-UU Document 1 Entered on FLSD Docket 06/21/2019 Page 9 of 22



       of the hours above-specified at a rate not less than one and a half times the regular rate at

       which he is employed.”

    41. Defendants GODIVA AMERICAN, CORP., d/b/a SANTA FE NEWS AND ESPRESSO,

       THE GRAND CAFE S 1 CORP, and SUNNY ISLES BEACH RESTAURANT CORP,

       are a joint enterprise as defined in 29 U.S.C. § 203 (r)(1), and they are also joint employers

       as defined in 29 C.F.R. §791.2.

    42. Defendants GODIVA AMERICAN, CORP., d/b/a SANTA FE NEWS AND ESPRESSO,

       THE GRAND CAFE S 1 CORP, and SUNNY ISLES BEACH RESTAURANT CORP

       hereinafter will be called collectively GODIVA AMERICAN, or Defendant.

    43. Defendant GODIVA AMERICAN was and is engaged in interstate commerce as defined

       in §§ 3 (r) and 3(s) of the Act, 29 U.S.C. § 203(r) and 203(s)(1)(A). Defendant is a retail

       business operating as, coffee-shop/restaurant, Defendant catered mostly to tourist.

       Defendant had more than two employees recurrently engaged in commerce or in the

       production of goods for commerce by regularly and recurrently using the instrumentalities

       of interstate commerce to accept and solicit funds from non-Florida sources; by using

       electronic devices to authorize credit card transactions by ordering product and supplies

       produced out of State. Upon information and belief, the annual gross revenue of the

       Employer/Defendant was always in excess of $500,000 per annum. By reason of the

       foregoing, Defendant’s business activities involve those to which the Fair Labor Standards

       Act applies. Therefore, there is FLSA enterprise coverage.

    44. Plaintiff and those similarly-situated were employed by an enterprise engage in interstate

       commerce. Particularly, Plaintiff was a waiter that on regular basis initiated and completed

       credit card transactions. Therefore, there is individual coverage.



                                           Page 9 of 22
Case 1:19-cv-22572-UU Document 1 Entered on FLSD Docket 06/21/2019 Page 10 of 22



     45. Defendants GODIVA AMERICAN and individual Defendant ALEJANDRO SCOLNIK

        employed Plaintiff RUBEN PORTA from approximately August 15, 2016 to October 20,

        2017, 2017, or 62 weeks. However, for FLSA’s purposes Plaintiff’s relevant time of

        employment is 54 weeks, since Plaintiff did not work overtime hours during his first 8

        weeks of employment.

     46. While employed by Defendants Plaintiff RUBEN PORTA worked approximately 40

        weeks at Santa Fe News and Espresso and then he worked approximately 14 weeks for The

        Grand Cafe and for Santa Fe News and Espresso, simultaneously and within the same

        week.

     47. During his employment with Defendant Plaintiff held different positions and different

        payment plans. Plaintiff worked for Defendant GODIVA AMERICAN as follows:

     48. (1) Plaintiff’s work at Santa Fe News and Espresso (40 weeks) - On or about August 15,

        2016, Plaintiff began his employment with GODIVA AMERICAN working as a server at

        Santa Fe News and Espresso. Plaintiff worked in this position for approximately 8 weeks,

        he was paid $12.00 an hour and he did not work overtime hours.

     49. From approximately October 10, 2016 to July 15, 2017 or 40 weeks, Plaintiff worked as a

        lead waiter. In this period, Plaintiff worked regularly 5 days per week from 10:00 AM, to

        10:00 PM (12 hours daily) an average of 60 hours weekly. Plaintiff was unable to take

        bona-fide lunch breaks.

     50. On the months of December, January and February (high season), or 12 weeks, Plaintiff

        worked a minimum of 6 days per week, from 9:00 AM to 12:00 AM (15 hours daily) a

        minimum average of 90 hours.




                                         Page 10 of 22
Case 1:19-cv-22572-UU Document 1 Entered on FLSD Docket 06/21/2019 Page 11 of 22



     51. Plaintiff clocked in and out, but he claims that Defendant did not maintain accurate time

        records.

     52. In this period Plaintiff worked more than 40 hours weekly, but he was not paid for overtime

        hours. as required by the Fair Labor Standards Act.

     53. Plaintiff was paid $15.00 an hour or $900.00 per week regardless the number of days and

        hours worked. Plaintiff was paid 40 hours, or $600 with check and the remaining 20 hours

        or $300.00 in cash.

     54. (2) Plaintiff’s work at The Grand Café and Santa Fe News and Espresso (14 weeks). On or

        about July 16, 2017 Plaintiff was sent to work as a lead waiter to The Grand Cafe, Plaintiff

        had similar duties as he had in Santa Fe News and Espresso.

     55. Plaintiff worked 5 days from Thursdays to Sundays from 9:00 AM to 10:00 PM (13 hours

        daily) or a total of 65 hours weekly.

     56. Plaintiff was paid as a tipped employee $5.80 an hour plus tips.

     57. Plaintiff worked more than 40 hours every week, but he was not paid for overtime hours.

     58. In this period Plaintiff worked also a waiter at Santa Fe News and Espresso. Plaintiff

        worked on Mondays and Tuesdays an average of 12 hours daily or 24 hours every week.

        Plaintiff was compensated for his work at Santa Fe News and Espresso at the rate of $15.00

        an hour.

     59. Plaintiff was compensated at two different rates. Plaintiff worked Mondays and Tuesdays,

        (12 hours each day or 24 hours) at Santa Fe News and Espresso and he was paid at the rate

        of $15.00 an hour. Plaintiff he worked Wednesdays, Thursdays, Fridays, Saturdays and

        Sundays at The Grand Café, (13 hours each day or 65 hours) at the tipped rate of $5.80.




                                           Page 11 of 22
Case 1:19-cv-22572-UU Document 1 Entered on FLSD Docket 06/21/2019 Page 12 of 22



     60. In this period of 14 weeks Plaintiff worked a total of 89 hours every week or 49 O/T hours.

        Plaintiff worked 25 O/T hours at The Grand Café, and 24 additional O/T hours at Santa Fe

        News and Espresso. Plaintiff was not compensated for a total of 49 O/T hours.

     61. Defendants always were able to track the hours worked by Plaintiff and other similarly

        situated individuals.

     62. Therefore, Defendant willfully failed to pay Plaintiff for regular hours and overtime hours

        at the rate of time and a half her regular rate, for every hour that he worked in excess of

        forty (40), in violation of Section 7 (a) of the Fair Labor Standards Act of 1938 (29 U.S.C.

        207(a)(1).

     63. Plaintiff was paid weekly with checks without paystubs reflecting days and the real number

        of hours worked, job classification, employee taxes deducted etc. etc.

     64. The records, if any, concerning the number of hours worked by Plaintiff and those similarly

        situated, and the compensation actually paid to such employees should be in possession

        and custody of Defendant. However, upon information and belief, Defendant did not

        maintain accurate time records of hours worked by Plaintiff and other employees.

     65. Defendant violated the record keeping requirements of FLSA, 29 CFR Part 516.

     66. Defendant never posted any notice, as required by the Fair Labor Standards Act and Federal

        Law, to inform employees of their federal rights to overtime and minimum wage payments.

     67. Defendants violated the Posting requirements of 29 U.S.C. § 516.4.

     68. Prior to the completion of discovery and to the best of Plaintiff’s knowledge, at the time of

        the filing of this complaint, Plaintiff’s good faith estimate of unpaid overtime wages is as

        follows:




                                            Page 12 of 22
Case 1:19-cv-22572-UU Document 1 Entered on FLSD Docket 06/21/2019 Page 13 of 22



        *Please note that these amounts are based on a preliminary calculation and that these
        figures are subjected to modifications as discovery could dictate. After discovery, Plaintiff
        will properly adjust his calculations.

            a. Total amount of alleged unpaid wages:

                Sixteen Thousand Seven Hundred Fifty-Five Dollars and 50/100 ($16,755.50)

            b. Calculation of such wages:

                Total weeks of employment: 62 weeks
                Total Relevant number of weeks: 54 weeks

                1.- Overtime at Santa Fe News and Espresso, 60 hours weekly x 40 weeks

                Total number of relevant weeks: 40
                Total number of hours worked: 60 hours weekly
                Paid: $900 weekly: 60 hours= $15.00 regular rate
                Regular rate: $15.00 X 1.5= $22.50 O/T rate
                O/T rate: $22.50 - $15.00 O/T paid = $7.50 half-time difference
                Half-time: $7.50

                Half-time $7.50 x 20 O/T hours=$150 weekly x 40 weeks=$6,000.00

                 2.- Overtime at The Grand Cafe and Santa Fe News and Espresso 14 weeks

                Total number of relevant weeks: 14 weeks

                    i.     Overtime at The Grand Café
                         Total number of hours worked weekly: 65hours
                         Total number of O/T hours: 25 O/T hours
                         Regular rate: $5.80 an hour tipped employee
                         Fl. Minimum wage rate 2017 applied: $8.10 an hour
                         $8.10 x 1.5=$12.15- less $3.02 maximum tip credit= $9.13
                         O/T rate: $9.13 an hour

                         O/T rate $9.13 x 25 O/T hours=$228.25 x 14 weeks=$3,195.50

                   ii.    Overtime at The Grand Café /2 days with 24 O/T hours x 14 weeks
                         Total number of weeks: 14 weeks
                         Total number of O/T hours worked weekly: 24 hours
                         Regular rate: $15.00 x 1.5=22.50 O/T rate
                         O/T rate: $22.50

                         O/T rate $22.50 x 24 O/T hours=$540.00 x 14 weeks=$7,560.00



                                           Page 13 of 22
Case 1:19-cv-22572-UU Document 1 Entered on FLSD Docket 06/21/2019 Page 14 of 22



                Total overtime 1 and 2: $16,755.50

               Nature of wages (e.g. overtime or straight time):

              This amount represents the total unpaid half-time overtime.

     69. At all times material hereto, the Employer/Defendant GODIVA AMERICAN failed to

        comply with Title 29 U.S.C. §§ 201-219 and 29 C.F.R. § 516.2 and § 516.4 et seq. in that

        Plaintiff and those similarly-situated performed services and worked in excess of the

        maximum hours provided by the Act but no provision was made by the Defendant to

        properly pay them at the rate of time and one half for all hours worked in excess of forty

        hours (40) per workweek as provided in said Act. The additional persons who may become

        Plaintiffs in this action are weekly-paid employees and/or former employees of Defendant

        who are and who were subject to the unlawful payroll practices and procedures of

        Defendant and were not paid time and one half of their regular rate of pay for all overtime

        hours and straight time hours worked in excess of forty.

     70. Defendant GODIVA AMERICAN, knew and/or showed reckless disregard of the

        provisions of the Act concerning the payment of overtime wages as required by the Fair

        Labor Standards Act and remains owing Plaintiff and those similarly-situated these

        overtime wages since the commencement of Plaintiff and those similarly-situated

        employee’s employment with Defendant as set forth above, and Plaintiff and those

        similarly-situated are entitled to recover double damages. Defendant never posted any

        notice, as required by the Fair Labor Standards Act and Federal Law, to inform employees

        of their federal rights to overtime and minimum wage payments.

     71. At the times mentioned individual Defendant ALEJANDRO SCOLNIK was and is now,

        the director and/or owner of GODIVA AMERICAN.                  Defendant ALEJANDRO



                                          Page 14 of 22
Case 1:19-cv-22572-UU Document 1 Entered on FLSD Docket 06/21/2019 Page 15 of 22



         SCOLNIK was the employer of Plaintiff and others similarly situated within the meaning

         of Section 3(d) of the “Fair Labor Standards Act” [29 U.S.C. § 203(d)], in that this

         individual Defendant acted directly in the interests of the corporation in relation to its

         employees, including Plaintiff and others similarly situated. Defendant ALEJANDRO

         SCOLNIK had financial and operational control of the business, determined Plaintiff’s

         terms and conditions of employment, and is jointly and severally liable for Plaintiff’s

         damages.

     72. Defendants GODIVA AMERICAN, and ALEJANDRO SCOLNIK willfully and

         intentionally refused to pay Plaintiff overtime wages and minimum wages as required by

         the law of the United States as set forth above and remains owing Plaintiff these overtime

         wages since the commencement of Plaintiff’s employment with Defendant GODIVA

         AMERICAN, as set forth above.

     73. Plaintiff has retained the law offices of the undersigned attorney to represent him in this

         action and is obligated to pay a reasonable attorneys’ fee.

                                      PRAYER FOR RELIEF

  WHEREFORE, Plaintiff RUBEN PORTA and those similarly-situated respectfully request that

  this Honorable Court:

         A. Enter judgment for Plaintiff and other similarly-situated and against the Defendants

            GODIVA AMERICAN, and ALEJANDRO SCOLNIK, based on Defendants’ willful

            violations of the Fair Labor Standards Act, 29 U.S.C. § 201 et seq.; and

         B. Award Plaintiff actual damages in the amount shown to be due for unpaid overtime

            compensation for hours worked in excess of forty weekly, with interest; and

         C. Award Plaintiff an equal amount in double damages/liquidated damages; and



                                            Page 15 of 22
Case 1:19-cv-22572-UU Document 1 Entered on FLSD Docket 06/21/2019 Page 16 of 22



          D. Award Plaintiff reasonable attorneys' fees and costs of suit; and

          E. Grant such other and further relief as this Court deems equitable and just and/or

              available pursuant to Federal Law.

                                            JURY DEMAND

  Plaintiff RUBEN PORTA and those similarly-situated demand trial by jury of all issues triable as

  of right by jury.

                                  COUNT II:
      F.L.S.A. WAGE AND HOUR FEDERAL STATUTORY VIOLATION: FAILURE TO
                 PAY MINIMUM WAGE; AGAINST ALL DEFENDANTS

      74. Plaintiff RUBEN PORTA re-adopts every factual allegation concerning to him, as stated

          in paragraphs 1-38 of this complaint as if set out in full herein.

      75. Defendants GODIVA AMERICAN, CORP., d/b/a SANTA FE NEWS AND ESPRESSO,

          THE GRAND CAFE S 1 CORP, and SUNNY ISLES BEACH RESTAURANT CORP,

          are a joint enterprise as defined in 29 U.S.C. § 203 (r)(1), and they are also joint employers

          as defined in 29 C.F.R. §791.2.

      76. Defendants GODIVA AMERICAN, CORP., d/b/a SANTA FE NEWS AND ESPRESSO,

          THE GRAND CAFE S 1 CORP, and SUNNY ISLES BEACH RESTAURANT CORP

          hereinafter will be called collectively GODIVA AMERICAN, or Defendant.

      77. This action is brought by Plaintiff RUBEN PORTA to recover from the Employer unpaid

          minimum wages, as well as an additional amount as liquidated damages, costs, and

          reasonable attorney’s fees under the provisions of 29 U.S.C. § 201 et seq., and specifically

          under the provisions of 29 U.S.C. §206. U.S.C. §206 states “Every employer shall pay to

          each of his employees who in any workweek is engaged in commerce or in the production




                                              Page 16 of 22
Case 1:19-cv-22572-UU Document 1 Entered on FLSD Docket 06/21/2019 Page 17 of 22



        of goods for commerce, or is employed in an enterprise engaged in commerce or in the

        production of goods for commerce, wages at the following rates:

         (1) except as otherwise provided in this section, not less than—

                (A) $5.85 an hour, beginning on the 60th day after May 25, 2008;

                (B) $6.55 an hour, beginning 12 months after that 60th day; and

                (C) $7.25 an hour, beginning 24 months after that 60th day.

     78. Defendant GODIVA AMERICAN was and is engaged in interstate commerce as defined

        in §§ 3 (r) and 3(s) of the Act, 29 U.S.C. § 203(r) and 203(s)(1)(A). Defendant is a retail

        business operating as, coffee-shop/restaurant, Defendant catered mostly to tourist.

        Defendant had more than two employees recurrently engaged in commerce or in the

        production of goods for commerce by regularly and recurrently using the instrumentalities

        of interstate commerce to accept and solicit funds from non-Florida sources; by using

        electronic devices to authorize credit card transactions by ordering product and supplies

        produced out of State. Upon information and belief, the annual gross revenue of the

        Employer/Defendant was always in excess of $500,000 per annum. By reason of the

        foregoing, Defendant’s business activities involve those to which the Fair Labor Standards

        Act applies. Therefore, there is FLSA enterprise coverage.

     79. Plaintiff and those similarly-situated were employed by an enterprise engage in interstate

        commerce. Particularly, Plaintiff was a waiter that on regular basis initiated and completed

        credit card transactions. Therefore, there is individual coverage.

     80. By reason of the foregoing, Defendant GODIVA AMERICAN was required to comply

        with the mandates of the FLSA, as it applied to Plaintiff and other similarly situated

        individuals.



                                           Page 17 of 22
Case 1:19-cv-22572-UU Document 1 Entered on FLSD Docket 06/21/2019 Page 18 of 22



     81. Defendants GODIVA AMERICAN and individual Defendant ALEJANDRO SCOLNIK

        employed Plaintiff RUBEN PORTA from approximately August 15, 2016 to October 20,

        2017, 2017, or 62 weeks. However, for FLSA’s purposes Plaintiff’s relevant time of

        employment is 54 weeks, since Plaintiff did not work overtime hours during his first 8

        weeks of employment.

     82. While employed by Defendants Plaintiff RUBEN PORTA worked approximately 40

        weeks at Santa Fe News and Espresso and then he worked approximately 14 weeks for The

        Grand Cafe and for Santa Fe News and Espresso, simultaneously and within the same

        week.

     83. From August 15, 2016 to October 9, 2016 Plaintiff worked at Santa Fe News and Espresso

        as a waiter and he was paid $12.00 an hour. From October 10, 2016 to July 15, 2017 (40

        weeks) Plaintiff worked as lead waiter and he was paid $15.00 an hour.

     84. Within his relevant period of employment from approximately July 16, 2017 to October

        20, 2017, or 14 weeks Plaintiff was sent to work as a lead waiter to The Grand Cafe,

        Plaintiff had similar duties as he had in Santa Fe News and Espresso.

     85. Plaintiff worked 5 days from Thursdays to Sundays from 9:00 AM to 10:00 PM (13 hours

        daily) or a total of 65 hours weekly.

     86. Plaintiff was paid as a tipped employee $5.80 an hour plus tips.

     87. While working as a waiter at The Grand Cafe, Plaintiff was a tipped employee who was

        paid the mandatory minimum wage for tipped employees, plus tips that he retained as his

        own property. However, Defendant was not entitled to a tip credit because it did not

        establish a valid tip pooling agreement. Plaintiff wrongfully was required to “pay” cash

        daily a 7% from his daily sales (from the total of costumers’ bills), not from his tips.



                                           Page 18 of 22
Case 1:19-cv-22572-UU Document 1 Entered on FLSD Docket 06/21/2019 Page 19 of 22



        Plaintiff paid this 7% with the proceedings of his tips. In addition, the 7% was distributed

        between non-qualified employees such as Kitchen employees (2% Kitchen, 2% food

        runners, 2% drunk runners, 1% dishwashers).

     88. Consequently, Defendants are not entitled to the “tip credit” allowed by law. Defendants

        are obligated to pay Plaintiff the full minimum wage of $7.25 an hour for all the time

        Plaintiff worked at The Grand Café as a waiter. (In Florida $8.10 for 2017.)

     89. In this period of 14 weeks Plaintiff is owed, minimum wages for his work at The Grand

        Café,

     90. At all times material hereto, the Employer failed to comply with title §§ 201-219 and 29

        C.F.R. § 516.2, § 516.4, 531.52, and § 531.59 et seq. in that Plaintiff was not paid the

        required minimum wage as required by the FLSA.

     91. The records, if any, concerning the number of hours worked by Plaintiff and all other

        employees, and the compensation actually paid to such employees should be in the

        possession and custody of Defendant. However, upon information and belief, Defendant

        did not maintain accurate and complete time records of hours worked by Plaintiff and other

        employees in the asserted class.

     92. Defendant violated the record keeping requirements of FLSA, 29 CFR Part 516.

     93. Prior to the completion of discovery and to the best of Plaintiff RUBEN PORTA ’s

        knowledge, at the time of the filing of this complaint, Plaintiff’s good faith estimate of

        unpaid wages are as follows:

        *Pending to discovery, please note that these are preliminary calculations subjected to
        proper discovery.
        *Florida minimum wage is higher than Federal minimum wage. As per FLSA regulations
        the higher minimum wage applies.




                                           Page 19 of 22
Case 1:19-cv-22572-UU Document 1 Entered on FLSD Docket 06/21/2019 Page 20 of 22



            a. Total amount of alleged unpaid wages:

                Two Thousand Ninety-Three Dollars and 00/100 ($2,093.00)

            b. Calculation of such wages:

                Total weeks: 14 weeks
                Total hours worked: 65 hours
                Min. wage rate paid: $5.80 an hour
                2017 Florida Minimum wage $ 8.10
                Florida minimum wage: $8.10- $5.80 rate paid= $2.30 difference

                Difference 2.30 x 65 hours = $149.50 weekly x 14 weeks=$2,093.00

            c. Nature of wages:

                This amount represents the difference unpaid minimum wages at Florida rate.

     94. Therefore, Defendant unlawfully failed to pay minimum wages to Plaintiff for the hours

        and relevant time periods specified above. Plaintiff RUBEN PORTA seeks to recover

        minimum wage accumulated within the mentioned period.

     95. Defendant GODIVA AMERICAN, knew and/or showed reckless disregard of the

        provisions of the Act concerning the payment of minimum wages as required by the Fair

        Labor Standards Act and remains owing Plaintiff RUBEN PORTA and those similarly-

        situated these minimum wages since the commencement of Plaintiff and those similarly-

        situated employee’s employment with Defendant as set forth above, and Plaintiff and those

        similarly-situated are entitled to recover double damages. Defendant never posted any

        notice, as required by the Fair Labor Standards Act and Federal Law, to inform employees

        of their federal rights to overtime and minimum wage payments.

     96. Defendant violated the Posting requirements of 29 U.S.C. § 516.4.

     97. At the times mentioned, individual Defendant ALEJANDRO SCOLNIK, was the owner,

        president, and/or manager of Defendant Corporation GODIVA AMERICAN, Defendant



                                          Page 20 of 22
Case 1:19-cv-22572-UU Document 1 Entered on FLSD Docket 06/21/2019 Page 21 of 22



         ALEJANDRO SCOLNIK was the employer of Plaintiff within the meaning of Section 3(d)

         of the “Fair Labor Standards Act” [29 U.S.C. § 203(d)], in that the individual Defendant

         ALEJANDRO SCOLNIK, acted directly in the interest of the corporation GODIVA

         AMERICAN in relation to its employees including Plaintiff. Defendant ALEJANDRO

         SCOLNIK had financial and operational control of the business, provided Plaintiff with

         his work schedule, and he is jointly liable for Plaintiff’s damages.

     98. Defendants GODIVA AMERICAN, and ALEJANDRO SCOLNIK, willfully and

         intentionally refused to pay Plaintiff RUBEN PORTA minimum wages as required by the

         law of the United States and remains owing Plaintiff these minimum wages since the

         commencement of Plaintiff’s employment with Defendants or as set forth above.

     99. Plaintiff RUBEN PORTA has retained the law offices of the undersigned attorney to

         represent him in this action and is obligated to pay a reasonable attorneys’ fee.

                                        PRAYER FOR RELIEF

  WHEREFORE, Plaintiff RUBEN PORTA and those similarly-situated respectfully request that

  this Honorable Court:

        A. Enter judgment for Plaintiff and other similarly-situated individuals and against the

            Defendants GODIVA AMERICAN, and ALEJANDRO SCOLNIK, because of

            Defendants’ willful violations of the Fair Labor Standards Act, 29 U.S.C. § 201 et seq.

            and other Federal Regulations; and

        B. Award Plaintiff RUBEN PORTA actual damages in the amount shown to be due for

            unpaid minimum wages, with interest; and

        C. Award Plaintiff RUBEN PORTA an equal amount in double damages/liquidated

            damages; and



                                            Page 21 of 22
Case 1:19-cv-22572-UU Document 1 Entered on FLSD Docket 06/21/2019 Page 22 of 22



         D. Award Plaintiff RUBEN PORTA reasonable attorneys' fees and costs of suit; and

         E. Grant such other and further relief as this Court deems equitable and just and/or

             available pursuant to Federal Law.

                                         JURY DEMAND

  Plaintiff RUBEN PORTA and those similarly-situated, demand trial by jury of all issues triable as

  of right by jury.

  Dated: June 21, 2019

                                              Respectfully submitted,


                                              By: _/s/ Zandro E. Palma___
                                              ZANDRO E. PALMA, P.A.
                                              Florida Bar No.: 0024031
                                              9100 S. Dadeland Blvd.
                                              Suite 1500
                                              Miami, FL 33157
                                              Telephone: (305) 446-1500
                                              Facsimile:     (305) 446-1502
                                              E-mail: zep@thepalmalawgroup.com
                                              Attorney for Plaintiff




                                           Page 22 of 22
